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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                          CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                   CLERK OF COURT

Date: March 16, 2023                                          DC Docket #: 18-cv-8865
Docket #: 22-1291cv                                           DC Court: SDNY (NEW YORK
Short Title: United States Securities and Exchange            CITY)
Commission v. Musk                                            DC Judge: Liman

                               NOTICE OF HEARING DATE



  Argument Date/Time:       Thursday, May 11, 2023 at 10:00am
  Location:                 Thurgood Marshall U.S. Courthouse, 40 Foley Square,
                            New York, NY, 10007, 17th Floor, Room 1703

  Time Allotment:           10 minutes per side

  Counsel and non-incarcerated pro se litigants presenting oral argument must register with
  the courtroom deputy 30 minutes before argument.

  Approximately one week prior to argument, the Court will advise the individuals who
  will appear of the format for the argument. The Court prefers to hold argument in person.
  However, argument may be held by Zoom, teleconference, or a combination of in-person
  and remote arguments, depending upon then current pandemic-related considerations. A
  party who has demonstrated good cause by motion and judges may participate remotely.
  If an argument is remote, the parties will receive instructions to access Zoom or the
  teleconference.

  A motion or stipulation to withdraw with or without prejudice must be filed no later than 3
  business days prior to the scheduled date of argument. The Court will consider the motion or
  stipulation at the time of argument, and counsel's appearance is required with counsel
  prepared to argue the merits of the case. If a stipulation to withdraw with prejudice is based
  on a final settlement of the case, the fully-executed settlement must be reported immediately
  to the Calendar Team, and a copy of it must be attached to the stipulation.

  Inquiries regarding this case may be directed to 212-857-8595.

  See page 2 for additional information.
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Counsel must file the completed form in accordance with Local Rule 25.1 or 25.2.
Pro Se parties must submit the form in paper.

Name of the Attorney/Pro Se presenting argument:
Firm Name (if applicable):
Current Telephone Number:

The above named attorney represents:
( ) Appellant/Petitioner ( ) Appellee-Respondent ( )      Intervenor

Date:                            Signature:


                                   NOTICE TO THE BAR

Offsite Video Argument. At this time the Court does not provide offsite video argument.

Recording of Argument. An audio recording of oral argument is available on the Court's
website. In addition, a CD of an argument may be purchased for $32 per CD by written
request to the Clerk. The request should include the case name, the docket number and the
date or oral argument. CDs will be delivered by first class mail unless the request instructs to
hold for pick- up or requests Federal Express Service, in which case a Federal Express
account number and envelope must be provided.

Court Reporters. Parties may arrange - at their own expense - for an official court reporter
to transcribe argument from a copy of the hearing tape or to attend and transcribe the hearing
directly. A party must first obtain written consent from opposing counsel - or move the Court
for permission - to have the court reporter attend and transcribe the hearing and must provide
the calendar clerk written notice, including the name, address and telephone number of the
attending reporter and, if applicable, the reporting firm at least one week prior to the hearing
date.

Interpreter Services for the Hearing Impaired. Counsel requiring sign interpreters or
other hearing aids must submit a written notice to the Calendar Team at least one week
before oral argument.

Inquiries regarding this case may be directed to 212-857-8595.
